Case 4:21-cv-00497-MWB Document 2 Filed 03/19/21 Page 1 of 18

Jeremy C. Jackson, Esq.

 

 

 

PA 321557

. FILED
jiackson(@bower-law.com

Jeffrey M. Bower, Esq, WILLIAMSPORT
PA 18266

jbower@bower-law.com MAR Is 2021
BOWER LAW ASSOCIATES, PLLC PER \ Sy

403 S. Allen St., Suite 210 DEPUTY CLERK
State College, PA 16801 ZY

Tel.: 814-234-2626
Fax: 814-237-8700

UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

   

UNITED STATES OF AMERICA,
Ex rel. . vas. 8
GERARD F. JACKSON CV Q } = 4 9 y
CASE £:: :
Plaintiff, JUDGE BRAN
v. (FILED UNDER SEAL)

CLARO SCIENTIFIC LABORATORIES,
INC., ROSSITER & CUMMARO
ENTERPRISE LLC, DOES 1-100,

and JOHN AND JANE DOES 1-100,

ea is

Defendants.

QUI TAM COMPLAINT
This is an action brought by Plaintiff/Relator Gerard F. Jackson ("Relator") on
behalf of the United States of America pursuant to the Federal False Claims Act, 31
U.S.C. §§ 3729-3732 (‘FCA"). In support thereof, Relator alleges, based upon personal
knowledge, relevant documents, and information and belief, as follows:
1. Defendants, Claro Scientific Laboratories, Inc. (“Claro”), Rossiter &

Cummaro Enterprise LLC (“R&C Ent”), Does 1-100, and John and Jane Does 1-100

 
Case 4:21-cv-00497-MWB Document 2 Filed 03/19/21 Page 2 of 18

(collectively “Defendants”), have engaged in actions designed to defraud the United
States by knowingly submitting and/or causing to be submitted false and/or fraudulent
claims for payment to the Medicare, Medicaid, and CHAMPUS/TRICARE
(“Government Payors”) programs in violation of the federal False Claims Act, 31 U.S.C.

§ 3729 et seq.

2. Defendants have engaged in a scheme to defraud the United States by (1)
fraudulently billing Government Payors for diagnostic tests and/or other medical services
that were never performed, or were not ordered by the patient’s treating physician, (2)
engaging in improper marketing practices which violate the Anti-Kickback Statute, and (3)

engaged in improper practices involving telehealth physicians.

3. The FCA provides that any person who knowingly submits or causes to be
submitted to the Government a false or fraudulent claim for payment or approval is liable to
the United States Government for a civil penalty of not less than $5,000 and not more than
$10,000, as adjusted by the Federal Civil Penalties Inflation Adjustment Act of 1990 (28
U.S.C. 2461 note; Public Law 104-4101), plus three (3) times the amount of damages
which the Government sustains because of the acts of the person. The FCA permits persons
having information regarding a false or fraudulent claim against the government to bring an

action on behalf of the government and to share in any recovery.

4, Pursuant to the FCA, Relator seeks to recover on behalf of the United States
damages and civil penalties arising from Defendants' intentional submission of false and

fraudulent claims to government-funded healthcare programs (Government Payors).

 
Case 4:21-cv-00497-MWB Document 2 Filed 03/19/21 Page 3 of 18

JURISDICTION AND VENUE

5. This Court has subject matter jurisdiction over this action pursuant to 31
U.S.C. § 3732(a), 28 U.S.C. § 1331, 1345 and 1367.

6. This Court has personal jurisdiction over the Defendants pursuant to 31
U.S.C. § 3732(a), which authorizes nationwide service of process, because Defendants can be
found in, reside in, transact business in, and/or have committed the alleged acts in the Middle
District of Pennsylvania.

7. Venue is proper in this District pursuant to 28 U.S.C. § 1391{b)-(c) and 31
U.S.C.§3732(a) because Defendants can be found in, reside in, have transacted business in
and/or have committed the alleged acts in the Middle District of Pennsylvania.

8. Relator is an original source as defined by the FCA in 31 U.S.C. §3730(e)(4)(B)
because all of the allegations in this Complaint are based on evidence directly acquired by Relator
independently and through his own efforts. None of the allegations set forth in this Complaint are
based on public disclosure of information ina criminal, civil, or administrative hearing ina
Congressional, administrative, or General Accounting Office report, hearing, audit or
investigation, or from news media.

9, Relator made a voluntary disclosure to the United States prior to the filing of this
lawsuit, as required by 31 U.S.C. §3730(b)(2).

PARTIES

10. The United States is the real party in interest to this lawsuit.

11. Relator Gerard F. Jackson isa United States citizen currently residing in Centre
County, Pennsylvania. He is a senior citizen who receives his medical health insurance through

Medicare.

 

 
Case 4:21-cv-00497-MWB Document 2 Filed 03/19/21 Page 4 of 18

12. Defendant Claro Scientific Laboratories, Inc. is a for-profit corporation organized
and existing under the laws of the state of Delaware with a registered agent of The Corporation
Trust Company, Corporation Trust Center, 1209 Orange St., Wilmington, Delaware 19801 and an
advertised business address of 1408 Horizon Ave, Suite 101, Lafayette, Colorado 80026.

13. Defendant Rossiter & Cummaro Enterprise LLC, is a for-profit limited liability
company organized and existing under the laws of the state of Wyoming with a registered agent
of Stephen Rossiter, 4501 Nesmith Rd, Plant City, Florida 33567 and a registered principal office
of 30 N Gould St, Ste R Sheridan, Wyoming 82801.

14. Defendant Does 1-100 are corporate entities that acquire and/or purchase
information about Medicare covered individuals sufficient to make claims to Medicare in the
names of those individuals, information which Defendant Does provide to Claro and/or R&C
Ent in the furtherance of the fraud described herein.

15. Defendants John and Jane Does 1-100 are the individual owners, members,
officers, investors, and/or employees of Defendants that participated in the furtherance of the
fraud described herein.

REGULATORY OVERVIEW
The Federal False Claims Acts
16, The FCA provides, in relevant
part: [A]ny person who--

(A) knowingly presents, or causes to be presented, a false or fraudulent claim
for payment or approval;

(B) knowingly makes, uses, or causes to be made or used, a false record or
statement material to a false or fraudulent claim;

(C) — conspires to commit a violation of subparagraphs (A) or (B); and/or

(E) knowingly makes, uses, or causes to be made or used, a false record or statement
material to an obligation to pay or transmit money or property to the

Government, or knowingly conceals or knowingly and improperly avoids or
decreases an obligation to pay or transmit money or property to the Government,

 
Case 4:21-cv-00497-MWB Document 2 Filed 03/19/21 Page 5 of 18

is liable to the United States Government for a civil penalty of not less than $5,000 and
not more than $10,000, as adjusted by the Federal Civil Penalties Inflation Adjustment Act of
1990 (28 U.S.C. 2461 note; Public Law 104-4101), plus three (3) times the amount of damages
which the Government sustains because of the act of that person. 31 U.S.C.A. §3729(a)(1).

17. The FCA permits individuals to bring a civil action in the name of the
Government for violations ofthe respective statutes. 31 U.S.C. §3730(b)(1).

18. The FCA defines "knowing" and "knowingly" to mean a person who, with
respect to information (1) has actual knowledge of the information; (2) acts in deliberate
ignorance of the truth or falsity of the information; or (3) acts in reckless disregard of the
truth or falsity of the information. 31 U.S.C. § 3729(b)(]), No proof of specific intent to
defraud is required and an innocent mistake is not a defense to an action under these acts. Id.

The Anti-Kickback Statute

19, The Anti-Kickback Statute, 42 U.S.C. § 1320a-7b(b), arose out of
Congressional concern that payoffs to those who can influence healthcare decisions would
result in goods and services being provided that are medically unnecessary, of poor quality,
or even harmful to a vulnerable patient population. To protect the integrity of the program
from these difficult-to- detect harms, Congress enacted a per se prohibition against the
payment of kickbacks in any form, regardless of whether the particular kickback gave rise to
overutilization or poor quality of care. First enacted in 1972, Congress strengthened the
statute in 1977 and 1987 to ensure that kickbacks masquerading as legitimate transactions did
not evade its reach. See Social Security Amendments of 1972, Pub. L.No. 92-603, § §

242(b) and (c); 42 U.S.C. § 1320a-7b, Medicare- Medicaid Antifraud and Abuse

 
Case 4:21-cv-00497-MWB Document 2 Filed 03/19/21 Page 6 of 18

Amendments, Pub. L. No. 95-142; Medicare and Medicaid Patient and Program Protection
Act of 1987, Pub. L.No. 100-93.

20. The Anti-Kickback Statute prohibits any person or entity from making or
accepting payment to induce or reward any person for referring, recommending or arranging
for federally-funded medical services, including services provided under the Medicare and
Medicaid programs.

21. Any claim filed in violation of the Anti-Kickback Statute is a false claim. 42
U.S.C. § 1320a-7a(a)(7).

22. The purchasing and selling of pattent or beneficiary lists implicates the Anti-
Kickback Statute, which prohibits the exchange of anything of value to induce the referral of
federal healthcare program business. Purchasing patient or beneficiary lists that contain
healthcare and specific patient information is prohibited under the Anti-Kickback Statute. 42
U.S.C. § 1320a-7b(b)(4).

GOVERNMENT HEALTHCARE PROGRAMS

23. The Medicare program ("Medicare") is a health insurance program
administered by the United States. Itis funded by taxpayer revenue. Medicare is directed by
the United States Health and Human Services Department ("HHS"). Medicare was
designed to assist participating states in providing medical services and Durable Medical
Equipment (“DME”) to persons over sixty-five (65) years of age and certain others who
qualify.

24, The Medicaid program ("Medicaid") is a health insurance program funded

by state and federal taxpayer revenue. Itis overseen by HHS. Medicaid was designed to
Case 4:21-cv-00497-MWB Document 2 Filed 03/19/21 Page 7 of 18

assist participating states in providing medical services, DME, and prescription drugs to
qualifying financially-needy individuals.

25. CHAMPUS/TRICARE is a federally-funded program that provides medical
benefits to (a) the spouses and unmarried children of (1) active duty and retired service
members and (2) reservists who were ordered to active duty for thirty (30) days or longer;
(b) the unmarried spouses and children of deceased service members; and (c) retirees.

Medicare and Medicaid Only Pay for Medical Services which are
Reasonable, Necessary, and Performed Economically

26. Medicare only pays for services that are "medically necessary" - i.e., Medicare
requires as a condition of payment that services be "reasonable and necessary for the diagnosis or
treatment of illness or injury." 42 U.S.C. § 1395y(ajd)(A).

27. Further, providers who wish to participate in the Medicare program must ensure
that their services are provided "economically and only when, and to the extent, medically
necessary." 42 U.S.C. §1320c-5(a)().

28. The requirement of medical necessity is not met when a procedure is performed
solely for profit. See U.S. ex rel. Mikes v. Straus, 274 F.3d 687 (2d Cir. 2001) ("the requisite level
of medical necessity may not be met where a party contends that a particular procedure was
deleterious or performed solely for profit" (citing United States ex rel, Kneepkins v. Gambro
Healthcare, Inc., 115 F. Supp. 2d 35, 41-42 (D. Mass. 2000) ("procedures chosen solely for
defendants' economic gain are not 'medically necessary’ as required by claim submission form")).

29. Providers may be excluded from participation in the Medicare program and other
federally-funded health care programs, if they routinely bill Medicare for medically unnecessary

items or services. 42 CFR § 1003.102.

 

 
Case 4:21-cv-00497-MWB Document 2 Filed 03/19/21 Page 8 of 18

Diagnostic Tests Must Be Ordered By the
Referring Physician

30. Under the Medicare program, all diagnostic tests must be ordered by the physician
who is treating the beneficiary. 42 C.F.R. § 410.32(a). Specifically, all procedures performed by a
diagnostic laboratory must be ordered in writing by the physician who is treating the beneficiary.
Id. § 410.33(d).

31, The Medicare Benefit Policy Manual ("MBPM") details CMS's policies for payment
of Medicare benefits. MBPM's "Requirements for Ordering and Following Orders for Diagnostic
Tests" define an "order" as “a communication from the treating physician/practitioner requesting that
diagnostic test be performed for a beneficiary . . . [T]he physician must clearly document, in the
medical record his or her intent that the test be performed." MBPM, Ch. 15, § 80.6.1.

32. The supervising physician for the diagnostic laboratory may not order tests to be
performed by the diagnostic laboratory, unless the supervising physician is in fact the
beneficiary's treating physician. 42 C.F.R. § 410.33(d). Thus the laboratory may not add any
procedures based on internal protocols without a written order from the treating physician. Id.

33. Tests not ordered by the beneficiary's treating physician are considered not
reasonable and necessary and, therefore, not reimbursable. Id. § 410.32(a).

ALLEGATIONS
Defendants Fraudulently Billed Government Payors for Tests that are Not Performed

34. Defendant Claro submitted claims to Government Payors for performing
diagnostic genetic tests to screen for genetically inherited diseases,

35.  Plaintiff/Relator Jackson’s Medicare insurance had a claim made against it by
Defendant Claro in January 2021 for five separate diagnostic genetic cardiac tests, with

Defendant Claro charging Relator’s Medicare insurance $5,230.00 in total for these tests.

 
Case 4:21-cv-00497-MWB Document 2 Filed 03/19/21 Page 9 of 18

36, The claim on Plaintiff/Relator Jackson’s Medicare insurance indicates that the five
genetic cardiac tests were performed on October 7, 2020, the claim was received by Medicare on
January 13, 2021, and the claim was processed by Medicare on January 18, 2021.

37. Defendant Claro indicated that a saliva sample was provided to it for these genetic
tests.

38. However, Plaintiff/Relator Jackson never provided a saliva sample, nor any other
genetic material sample to any of the Defendants for testing.

39, Further, Relator Jackson had never heard of Claro until he saw it appear as a claim

on his Medicare insurance.

40. Relator Jackson was never provided the results of these allegedly performed
genetic tests.
41. _ Relator Jackson was never contacted by any entity or individual about the results

of these allegedly performed genetic tests.

42. After Relator Jackson saw charges for these five genetic tests appear on his
Medicare insurance claim summary he contacted Claro seeking information about these five
genetic tests and Relator Jackson was told to call the telephone number 813-754-7777, Claro
stating that this is the telephone number for Relator Jackson’s treating physician that ordered the
five genetic tests.

43, The telephone number 813-754-7777 is the telephone number for Defendant R&C
Ent, an entity that upon information and belief is located in Florida. Relator Jackson has never
provided any genetic material to Defendant R&C Ent, nor any other Defendant.

44. These five genetic cardiac tests that were billed to Relator Jackson’s Medicare

insurance either were not performed or were not performed on Relator Jackson’s genetic material.

 

 
Case 4:21-cv-00497-MWB Document 2 Filed 03/19/21 Page 10 of 18

45, Government Payors will not pay for tests that were not performed for the insured
individual.

46. Based on Relator Jackson’s experience other instances of genetic tests that were
not performed or were not performed on the genetic material of the government insured
individual, but were billed to Government Payors will be evident upon review of Defendants’
records.

Improper Use of Telephone Lead Generators

47, Under the Anti-Kickback Statute, 42 U.S.C. § 1320a-7b, and Telephone
Solicitation Statute, 47 C.F.R. 64.1200(12), lead generators are required to obtain leads via opt-in
only.

48. In order to obtain the information necessary to submit a claim to Government
Payors, Defendants and/or their hired lead generators made unsolicited telemarketing calls in
violation of Federal telemarketing statutes seeking individuals insured by Government Payors.

49, The lead generators making these unsolicited telemarketing calls offered
“Insurance Only” billing, with no cost to the individual if they were insured by the Government
Payor for genetic tests for inheritable genetic diseases, including cardiac diseases.

50. These lead generators transmitted a false telephone number, a technique known as
“caller ID spoofing”, to the call recipient’s caller identification, these false telephone numbers
were often a number very similar to the recipients telephone number, normally with the same
telephone area code and first three numbers as the recipients telephone number, a technique
known as “neighbor spoofing”, intended to deceive the calls recipient into believing that the caller
was a local person or business, so the recipient of the call is more likely to answer the unsolicited

telemarketing call.

 

 
Case 4:21-cv-00497-MWB Document 2 Filed 03/19/21 Page 11 of 18

51. The false telephone numbers transmitted by the telemarketers were not telephone
numbers that the recipient could call back, a call back by a recipient resulted in hearing an error
message or reaching a confused individual whose telephone number had been spoofed by the
telemarketer. |

52. Relator Jackson received many of the aforementioned unsolicited telemarketing
calls which transmitted neighbor spoofed numbers to his cellular telephone offering him “no-
cost”, insurance only billing for genetic tests to test for cardiac diseases if Relator Jackson would
provide his Medicare insurance number and other identifying information. When Relator Jackson
asked for identifying information from these telemarketers they would often claim to be from
“The Medicare”, “Medicare Benefits” or they would terminate the call.

53. Relator Jackson, despite registering his telephone number on the Federal Do-Not-
Call Registry, the Pennsylvania Do-Not-Call Registry, and repeatedly asking these telemarketers
to not call him, continued to receive these harassing, intrusive, unsolicited telemarketing calls
offering him free cardiac health genetic tests.

54, The funding that paid for this scheme, which, inter alia, resulted in unsolicited
telemarketing calls, including those to Relator Jackson came from charges to Government Payors,
including the charges to Relator Jackson’s Medicare, a violation of the Anti-Kickback Statute, 42
U.S.C. § 1320a-7b.

55. Based on Relator Jackson’s experience, other instances of unsolicited
telemarketing calls made to individuals without an opt-in, in violation Anti-Kickback Statute, 42
U.S.C. § 1320a-7b, and Telephone Solicitation Statute, 47 C.F.R. 64.1200(12), will be evident

upon review of Defendants’ records.

 
Case 4:21-cv-00497-MWB Document 2 Filed 03/19/21 Page 12 of 18

Telehealth Fraud

56. As previously described, Relator Jackson continued to receive unsolicited
telemarketing calls offering him free cardiac genetic testing, in an effort to identify the source of
these calls Relator Jackson feign interest in the cardiac test in hopes of receiving identifying
information about the lead generators and the entity that hired them so he could make these
unsolicited telemarketing calls stop.

57. Though many unsolicited telemarketing calls of this type were received by Relator
Jackson, of note were four (4) telephone calls from individuals claiming to be physicians or
individuals who stated that they were not physicians but who claimed to be in contact with a
physician.

58. These four (4) telephone interactions resulted in four (4) claims being submitted to
Relator Jackson’s Medicare Insurance “Referred by” Defendant R&C Ent, who appeared on the
Medicare claim as “Rossiter & Cummaro Enterpriz, (813)754-7777” with the service claimed to
be provided by “Dr. Lentsch, Kristi, M.D.” on all four (4) of these claims, which correspond to
calls Realtor Jackson received on:

a) On April 3, 2020, from a telephone number that appeared on Relator Jackson’s
caller identification as 410-642-5153 with an individual who claimed to be with
“Preventative Health Services” and a “manager” for “Dr. Javarian from Glendale,
California”, who asked several questions about Relator Jackson’s medical history,
with Relator Jackson’s Medicare receiving a claim for this telemedicine call on
July 28, 2020;

b) On May 8, 2020, from a telephone number that appeared on Relator Jackson’s
caller identification as 814-347-2750 with an initial interaction with an individual

who claimed to be with “Health and Life Networking” and asked several screening

 
Case 4:21-cv-00497-MWB Document 2 Filed 03/19/21 Page 13 of 18

questions which later resulted in another call from a “Private Number” with an
individual who identified himself as “Dr. Hussain”, who asked several questions
about Relator Jackson’s medical history with Relator Jackson’s Medicare receiving
a claim for this telemedicine call on July 16, 2020;

c) On Sept 29, 2020, from a telephone number that appeared on Relator Jackson’s
caller identification as 410-401-5614 with an initial interaction that Relator
Jackson describes as a “boiler room operation”, which after several screening
questions resulted in him being transferred to another individual who asked him
more screening questions, and him finally being transferred to an unidentified male
individual who indicated that he was a doctor who asked several questions about
Relator Jackson’s medical history with Relator Jackson’s Medicare receiving a
claim for this telemedicine call on October 1, 2020; and

d) On October 26, 2020 from a telephone number that appeared on Relator Jackson’s
caller identification as 215-867-8956 with an initial interaction with an individual
who claimed to be with “Sonoran Labs” asked several screening questions, which
resulted in him being transferred to someone called a “Verifier” who asked
additional screening questions, and finally Relator Jackson being transferred to an

individual who identified himself as Dr. Hathaway with “My Doctors Live” who

 

asked several questions about Relator Jackson’s medical history with Relator

Jackson’s Medicare receiving a claim for this telemedicine call on November 2,

2020.

 

59. Each of these aforementioned telephone interactions resulted in a claim to
Relator Jackson’s Medicare insurance of $115.00 by Defendant R&C Ent, for a total amount

billed of $460.00 for these duplicate medical services.
Case 4:21-cv-00497-MWB Document 2 Filed 03/19/21 Page 14 of 18

60. Despite Relator Jackson’s Medicare insurance claiming that the “Service
Provided” was by Dr. Kristi Lentsch, M.D., Relator Jackson is unaware of ever having
interacted with Dr. Lentsch.

61. These four (4) aforementioned telephone calls were the result of unsolicited
telemarketing calls made to Relator Jackson.

62. These four (4) telephone calls, were all for the same duplicate medical
service, screening for approval of genetic cardiac health testing.

63. Though the four (4) aforementioned telephone calls involved questions about
Relator Jackson’s cardiac history, Relator Jackson never submitted any genetic material for
testing, Relator Jackson’s only answered questions over the telephone.

64. Despite Relator Jackson never submitting any genetic material for testing,
Defendants used the Medicare insurance information it obtained during these unsolicited
telemarketing calls to submit a fraudulent claim to Relator Jackson’s Medicare insurance for a
genetic test that was not performed on Relator Jackson.

65, Based on Relator Jackson’s experience, other instances of unsolicited
telemarketing calls made to individuals without an opt-in, in violation Anti-Kickback Statute,
42 U.S.C. § 1320a-7b, will be evident upon review of Defendants’ records.

Notice of Telemarketing Violations to Defendant and Continued Violations

66. Relator Jackson’s counsel was able to identify Defendant R&C Ent as a
potential source of some of the unsolicited telemarketing calls being made to Relator Jackson
from a mailing it sent to Relator Jackson after one of the aforementioned unsolicited
telemarketing calls. This mailing arriving around April, 2020.

67, Relator Jackson’s counsel sent Defendant R&C Ent notice of its

telemarketing violations on June 2, 2020. This is over a month before Defendant R&C Ent

 

 
Case 4:21-cv-00497-MWB Document 2 Filed 03/19/21 Page 15 of 18

made a claim to Relator Jackson’s Medicare insurance, the first claim occurring on July 16,
2020.

68. Despite this notice, Defendant R&C Ent continued to make at least two more
unsolicited telemarketing calls to Relator Jackson, and subsequently bill his Medicare
insurance four (4) separate times for telemedicine calls, all for same duplicate medical
service, screening for approval of genetic cardiac health testing.

COUNT I
VIOLATIONS OF THE FEDERAL FALSE CLAIMS ACT

69, Relator incorporates paragraphs 1-68 ofthis Complaint, as though fully
set forth herein. This count sets forth claims for treble damages and civil penalties under
the FCA.

70. As described in greater detail above, Defendants abused Government
healthcare programs in connection with fraudulent billing to Government Payors for
medical testing that was not performed, as well as engaging in fraudulent marketing
practices, and improper practices involving telehealth physicians.

71. Under the FCA, Defendants have violated:

i. 31U.S8.C. §3729(a)(1)(A) by knowingly presenting, or causing to be
presented, a false or fraudulent claim for payment or approval;

ii. 31 U.S.C. §3729(a)(1)(B) by knowingly making, using, or causing to be
made or used, a false record or statement material to a false or fraudulent
claim.

iii. 31 U.S.C. §3729(a)(1)(C) by conspiring to commit a violation of 31

U.S.C. §3729(a)()(A) and/or (a)(1)(B); and

 

 
Case 4:21-cv-00497-MWB Document 2 Filed 03/19/21 Page 16 of 18

iv. 31 U.S.C. §3729(a}( 1)(G) by knowingly making, using, or causing to be
made or used a false record or statement material to an obligation to pay
or transmit money or property to the government, or knowingly
concealing or knowingly and improperly avoiding or decreasing an
obligation to pay or transmit money or property to the government.

72, Because of the false claims made by Defendants, the United States has
suffered and continues to suffer damages, and is therefore entitled to a recovery as provided
by the FCA of an amount to be determined at trial, plus a civil penalty for each violation.

COUNT II
VIOLATIONS OF THE ANTI-KICKBACK STATUTE

73. Relators incorporate paragraphs 1-72 of this Complaint as though fully set
forth herein.

74. The Anti-Kickback Statute prohibits offering, paying, soliciting, or receiving
anything of value to induce rewards, referrals or general federal healthcare business, 42
US.C, § 1320a-7b(b).

75. As described in the Complaint. Defendants knowingly and intentionally paid
lead generators financial compensation in exchange for improper beneficiary leads and/or their
Government Payor insurance information,

76. Defendants' actions caused Government Payors to reimburse them for items
stemming from claims that resulted from prohibited activities under the Anti-Kickback
Statute.

PRAYER
WHEREFORE, Relator, on behalf of the United States, respectfully requests

that:

 

 
Case 4:21-cv-00497-MWB Document 2 Filed 03/19/21 Page 17 of 18

a, This Court enter an order determining that Defendants violated the FCA
by making false statements and records to cause false claims to be
submitted to the United States;

b. This Court enter an order requiring Defendants to pay treble damages and the
maximum civil penalties allowable to be imposed for each false or fraudulent
claim presented to the United States;

c. This Court enter an order requiring that Defendants cease and desist from
violating the FCA;

d. This Court enter an order requiring Defendants to pay all expenses and
attorney's fees and costs associated with this action;

e. This Court enter an order paying Relator the maximum statutory award

 

for his contributions to the prosecution of this action; and

f. Any and all other relief the Court determines to be reasonable and just.
PLAINTIFF/RELATOR DEMANDS A TRIAL BY JURY ON ALL COUNTS.

Dated: March 19, 2021 Respectfyjly submitted

5
/ jlackson@bower-law.com

Jeffrey M. Bower, Esq.

PA 18266

jbower@bower-law.com

BOWER LAW ASSOCIATES, PLLC
403 S. Allen St., Suite 210

State College, PA 16801

Tel.: 814-234-2626

Fax: 814-237-8700

   

 
 

 

 

Counsel for Relator

 
Case 4:21-cv-00497-MWB Document 2 Filed 03/19/21 Page 18 of 18

CERTIFICATE OF SERVICE
[hereby certify that, in accordance with F.R. Civ. P. 4G) and the requirements of 32 U.S.
Code 3730(b)(2), on this 19 day of March 2021, I mailed, via Certified United States Mail, a

copy of the foregoing Complaint, to the following:

Attorney General of The United States
U.S. Department of Justice

Civil Division

950 Pennsylvania Avenue, N.W.
Washington, DC 20530-0001

And hand-delivered same to the following:

United States Attorney for the Middle District of Pennsylvania
Attn: Civil Frauds/False Claims

Herman T. Schneebeli Federal Building

240 West Third Street

Williamsport, PA 17701-6465

BOWER, LAW ASSOCIATES, PLLC

J emy "Jackson, Esq.
JE

jjackson@bower-law.com
Jeffrey M. Bower, Esq.
PA 18266
jbower@bower-law,com
403 S. Allen St., Suite 210
State College, PA 16801
Tel.: 814-234-2626

Fax: 814-237-8700

     

 

 

 

Counsel for Relator

 
